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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA

MICHAEL HANDY,                              Case No.:

             Plaintiff,
                                            COMPLAINT AND DEMAND
vs.                                         FOR JURY TRIAL

SAFERENT SOLUTIONS, LLC,                    FCRA, 15 U.S.C. §§1681 et seq.

             Defendant.



      Michael Leon Handy (“Plaintiff” or “Mr. Handy”) by and through his

counsel brings the following Complaint against SafeRent Solutions, LLC

(“Defendant” or “SafeRent”) for violations of the federal Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. §§ 1681, et seq., arising out of a tenant screening report that

Defendant published to Plaintiff’s potential landlord, which falsely asserted that

Plaintiff was a felon.

                               INTRODUCTION

      1.     This is an individual action for damages costs, and attorney’s fees

brought against Defendant pursuant to the Fair Credit Reporting Act, 15 U.S.C. §§

1681, et seq. (“FCRA”).




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      2.       Defendant is a consumer reporting agency (“CRA”) that compiles and

maintains files on consumers on a nationwide basis. It sells consumer reports, also

known as tenant screening reports, generated from its database and furnishes these

tenant screening reports to mortgage brokers, landlords, and property management

companies who use the reports to make decisions regarding prospective borrowers

and tenants.

      3.       Defendant assembled and published an inaccurate tenant screening

report to Plaintiff’s prospective landlord, which included multiple felony

convictions related to illicit drug possession and physical assault, none of which

belonged to Plaintiff.

      4.       In fact, Plaintiff has never been convicted of a felony.

      5.       The felonies reported by Defendant do not belong to Plaintiff, rather,

upon information and belief, they belong to a Michael Steven Handy who is

currently incarcerated for the felony assault convictions listed by Defendant as

being on Plaintiff’s record..

      6.       Plaintiff’s prospective landlord denied Plaintiff’s housing application

after receiving the tenant screening report from Defendant, in which Defendant

published the inaccurate criminal record.




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      7.     Defendant’s inaccurate reporting could have easily been avoided had

Defendant performed a cursory review of the widely available underlying public

court records pertaining to the felony convictions prior to publishing the

information to Plaintiff’s prospective landlord.

      8.     Defendant does not employ reasonable procedures to assure the

maximum possible accuracy of the information it reports regarding consumers.

Defendant’s failure to employ reasonable procedures resulted in Plaintiff’s report

being grossly inaccurate.

      9.     Defendant committed these violations pursuant to its standard policies

and practices, which harm innocent consumers seeking housing by prejudicing

their prospective landlords with inaccurate information.

      10.    Defendant’s inaccurate report cost Plaintiff the ability to rent the

apartment unit that was suitably accommodating of his needs, causing him physical

injury as a result of emotional distress, embarrassment, inconvenience, anxiety,

fear of homelessness, and financial loss.

      11.    As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of housing

opportunities; loss of time and money trying to correct the tenant screening report;

damage to his reputation; loss of sleep; lasting psychological damage; loss of


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capacity for enjoyment of life; and emotional distress, including mental anguish,

anxiety, fear, frustration, humiliation, and embarrassment.

      12.    As a result of Defendant’s conduct, action, and inaction, Plaintiff

brings claims against Defendant for failing to follow reasonable procedures to

assure maximum possible accuracy based on 15 U.S.C. § 1681e(b) of the FCRA.

                                     PARTIES

      13.    Michael Leon Handy (“Plaintiff” or “Mr. Handy”) is a natural person

residing in Norcross, Georgia, and is a “consumer” as that term is defined in 15

U.S.C. § 1681a(c).

      14.    Defendant SafeRent Solutions, LLC (“Defendant” or “SafeRent”) is a

limited liability company doing business throughout the United States, including

the State of Georgia and in this District, and has a principal place of business

located at 4600 Regent Blvd., STE 150, Irving, TX 75063-2443.

      15.    Among other things, Defendant sells consumer reports, often called

tenant screening reports, to mortgage brokers, property management companies,

and landlords for their use in deciding whether to rent or otherwise offer housing to

a prospective tenant. These reports are provided in connection with a business

transaction initiated by the consumer.




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      16.    Defendant is a consumer reporting agency as defined in 15 U.S.C. §

1681a(f) because, for monetary fees, it regularly engages in the practice of

evaluating and/or assembling information on consumers for the purpose of

furnishing consumer reports for tenant screening purposes to third parties, and uses

interstate commerce, including the Internet, for the purpose of preparing and

furnishing such consumer reports.

                             JURISDICTION AND VENUE

      17.    This Court has jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. § 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be

brought in any appropriate court of competent jurisdiction.

      18.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to Plaintiff's claims

occurred in this District.

                             STATUTORY BACKGROUND

      19.    Enacted in 1970, the FCRA’s passage was driven in party by two

related concerns: first, that consumer reports were playing a central role in people’s

lives at crucial moments, such as when they applied for a job or credit, and when

they applied for housing. Second, despite their importance, consumer reports were

unregulated and had widespread errors and inaccuracies.

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      20.     While recognizing that consumer reports play an important role in the

economy, Congress wanted consumer reports to be “fair and equitable to the

consumer” and to ensure “the confidentiality, accuracy, relevancy, and proper

utilization” of consumer reports. 15 U.S.C. § 1681.

      21.     Congress, concerned about inaccuracies in consumer reports,

specifically required consumer reporting agencies to follow “reasonable

procedures to assure maximum possible accuracy” in consumer reports. 15 U.S.C.

§ 1681e(b).

      22.     Consumer reports that contain factually incorrect information which

does not belong to the consumer at issue are neither maximally accurate nor fair to

the consumers who are the subjects of such reports.

       THE FCRA’S PROTECTIONS FOR HOUSING APPLICANTS
      23.     Despite its name, the Fair Credit Reporting Act covers more than just

credit reporting; it also regulates tenant screening reports like the one Defendant

prepared in Plaintiff’s name.

      24.     The FCRA provides a number of protections for housing applicants

who are the subject of tenant screening reports for the purpose of securing housing

and credit.




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      25.    In the parlance of the FCRA, tenant screening reports are “consumer

reports,” and providers of tenant screening reports, like Defendant, are “consumer

reporting agencies.” 15 U.S.C. §§ 1681a(d) and (f).

      26.    The FCRA imposes duties on consumer reporting agencies to assure

that consumer reports are accurate and that “consumer reporting agencies exercise

their grave responsibilities with fairness, impartiality, and a respect for the

consumer’s right to privacy.” 15 U.S.C. § 1681.

      27.    Under 15 U.S.C. § 1681e(b), consumer reporting agencies are

required “to follow reasonable procedures to assure maximum possible accuracy of

the information concerning the individual about whom the report relates.”

      28.    Defendant disregarded its duties under the FCRA with respect to

Plaintiff’s tenant screening report.

             DEFENDANT’S ILLEGAL BUSINESS PRACTICES
      29.    Over the past 15 years, there has been increased collection and

aggregation of consumer data, including criminal records. As a result of the

increasing availability of this data, there has been a boom in the tenant screening

industry.

      30.    Tenant Screening Reports are generally created by running automated

searches through giant databases of aggregated criminal record data. The reports


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are created and disseminated with little to no manual, in-person review, and the

underlying court records are rarely directly reviewed in creating tenant screening

reports.

      31.   Tenant Screening companies, like Defendant, collect millions of

records from multiple repositories with data coming from county, state, and federal

level sources. The data included on the reports is often not obtained directly from

court records on an individual basis but instead is purchased in bulk or scraped

from court websites.

      32.   Given that Defendant is in the business of selling tenant screening

reports, Defendant should be well aware of the FCRA and the attendant harm to

consumers caused by reporting inaccurate or outdated information.

      33.   Defendant places its business interests above the rights of consumers

and reports such inaccurate information because it is cheaper for Defendant to

produce reports containing information that is inaccurate and incomplete than it is

for Defendant to exert proper quality control over the reports prior to their being

provided to Defendant’s customers.

      34.   Defendant reports such erroneous and incomplete information because

it wants to maximize the automation of its report creation process, thereby saving




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the costs associated with conducting the additional review necessary to remove the

inaccurate or out-of-date entries.

      35.    Defendant charges its customers the same price for reports that are

grossly inaccurate as it does for accurate reports.

      36.    Appropriate quality control review of Plaintiff’s report would have

made clear that Defendant was reporting information belonging to another

consumer.

                                       FACTS
             Plaintiff Applies for an Apartment with Sylvan Homes
      37.    In or about May 2022, Plaintiff was awarded fully physical custody of

his four children (ages 4-17).

      38.    At that time, Plaintiff was living in a one-room apartment in Norcross,

Georgia.

      39.    In or about November 2022, near the end of his lease, Plaintiff began

searching for a new home in Norcross, Georgia.

      40.    Specifically, Plaintiff was searching for accommodations that were in

a safe neighborhood, clean, within his budget, and close enough to his current

apartment that his four children could remain in the same school.




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      41.    Plaintiff located a three-bedroom home for rent by non-party Sylvan

Homes located approximately two miles from his current address, within his

budget, and in a safe neighborhood.

      42.    Plaintiff utilized a mobile app from Sylvan Homes, paying a fee, to

tour the home, and decided that it fit his needs.

      43.    On or about November 16, 2022, Plaintiff submitted an online

application to rent the home from Sylvan Homes, paying a non-refundable

application fee in the process.

    Defendant Published an Inaccurate Tenant Screening Report to Sylvan
                                  Homes
      44.    Sylvan Homes contracted with Defendant to conduct tenant screening

reports on prospective tenants to determine whether the prospective tenant is

eligible to rent an apartment.

      45.    On or about November 17, 2022, Defendant sold a tenant screening

report about Plaintiff to Sylvan Homes, wherein Defendant published information

including a compilation of Plaintiff’s credit history, criminal history, and civil

records history.

      46.    The tenant screening report, identified as a “CoreLogic SafeRent

Consumer file from CoreLogic SafeRent, LLC” by Defendant, is a consumer

report regulated by the FCRA.

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      47.    On or about November 17, 2022, Sylvan Homes sent electronic

communication to Plaintiff, stating that Plaintiff’s application for rental housing

had been denied based on information contained in a consumer reported obtained

from Defendant.

      48.    Plaintiff called Sylvan Homes to ask the reason for the denial, and

was given Defendant’s number to call.

      49.    Plaintiff called Defendant and spoke to a representative of Defendant.

      50.    Defendant’s representative, after confirming Plaintiff’s identity,

informed Plaintiff that the consumer report sent to Sylvan Homes included

multiple Oregon felony convictions ascribed to a “Michael Handy.”

      51.    These felonies included a drug distribution charge and three assaults.

      52.    Plaintiff has never lived in Oregon.

      53.    Plaintiff has never been convicted of a felony.

      54.    Defendant published inaccurate information about Plaintiff.          The

above-referenced information should not have been included in any tenant

screening report about Plaintiff.

      55.    Specifically, it is indisputable that prior to furnishing the report about

Plaintiff to Sylvan Homes, Defendant failed to consult widely available public




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court records in Oregon, which indicate that the aforementioned records do not

belong to Plaintiff.

       56.   A cursory review of the widely available underlying public records

confirms that the records belong to an individual named Michael Steven Handy

(“Steven Handy”).

       57.    Defendant’s unreasonable or non-existent procedures allowed

Defendant to publish a report about Plaintiff wherein Defendant mixed the criminal

history of Steven Handy into that same report.

       58.   Had Defendant actually consulted or obtained the widely available

records, it would have seen the obvious discrepancies between Steven Handy and

Plaintiff.

       59.   The discrepancies that should have caused Defendant to realize

Plaintiff is not the same person as Steven Handy include the following:

             (a)       Plaintiff’s legal name is “Michael Leon Handy” (no middle

                       name) but the name of the individual subject to criminal record

                       is identified in widely available records as “Michael Steven

                       Handy”;

             (b)       Plaintiff’s date of birth, which was provided to Defendant prior

                       to publishing the tenant screening report, is different than the


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                    date of birth of Steven Handy, information that is available

                    through a simple search of widely available information;

             (c)    Plaintiff’s address history confirms that he has never lived in

                    Oregon, wherein the felony criminal convictions were entered;

             (d)    Steven Handy is currently incarcerated in for the felony assault

                    convictions included in Defendant’s tenant screening report on

                    Plaintiff; and,

             (e)    Plaintiff’s Social Security number, which was provided to

                    Defendant is contained on the face of the tenant screening

                    report is entirely different than that of Steven Handy as

                    confirmed by widely available records.

      60.    The sole reason the inaccurate felony convictions were reported as

belonging to Plaintiff was that Defendant failed to follow reasonable procedures to

assure the maximum possible accuracy of the information it published within the

tenant screening report it sold about Plaintiff to Plaintiff’s prospective landlord.

      61.    Had Defendant followed reasonable procedures, it would have

discovered that the inaccurate, stigmatizing felony conviction record belongs to an

individual with a different middle name than Plaintiff, a different date of birth, and

a different Social Security Number, and who is currently incarcerated for crimes


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committed in Oregon and thus could not have been applying for a rental property

in Georgia.

      62.     In preparing and selling a consumer report about Plaintiff, wherein

Defendant published to Plaintiff’s prospective landlord inaccurate information

about Plaintiff, Defendant failed to follow reasonable procedures to assure that the

report was as accurate as maximally possible, in violation of 15 U.S.C. § 1681e(b).

   Plaintiff Disputed the Misinformation in Defendant’s Tenant Screening
                                   Report
      63.     Desperate to secure housing with Sylvan Homes and riddled with

worry over the far-reaching impacts of the inaccurate information, Plaintiff

disputed the inaccurate information via telephone with Defendant.

      64.     Plaintiff identified himself and provided information to Defendant to

support his dispute.

      65.     Plaintiff specifically disputed the criminal record which did not

belong to him.

      66.     Plaintiff specifically asked Defendant to investigate and delete the

criminal record from any tenant screening report about Plaintiff.

      67.     On    November     17,   2022,    Plaintiff   received   Defendant’s

correspondence confirming that it had reinvestigated Plaintiff’s dispute and

removed Steven Handy’s criminal records from the tenant screening report.

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      68.    Plaintiff continued to follow up with Sylvan Homes in hopes that the

application for housing would be approved, however, Sylvan Homes ultimately

denied Plaintiff’s housing application.

      69.    Plaintiff reasonably believes that due to Defendant’s inaccurate

reporting in the first instance, Sylvan Homes formed a negative opinion about

Plaintiff and/or moved on to other candidates.

      70.    Defendant’s false report cost Plaintiff a housing opportunity that met

his needs, including those attendant to affordability, safety, size, and proximity to

his children’s school.

      71.    Due to Defendant’s unreasonable procedures in the first place and

despite Plaintiff’s continued efforts to seek housing, Plaintiff unable to locate

another property within his budget that was close enough to keep his children in

the same school.

      72.    Ultimately, out of fear of homelessness, Plaintiff was forced to renew

his lease for the one-bedroom apartment, wherein he and his four minor children

are currently living.

      73.    Had Defendant followed reasonable procedures in the first place,

Plaintiff would have been able to lease the home from Sylvan Homes, which was

unique in the area as being large enough to accommodate his family while also


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being both within his budget and close enough to his current location to allow his

children to stay in the same school.

      74.     The injuries suffered by Plaintiff as a direct result of Defendant’s

erroneous reporting are the type of injuries that the FCRA was enacted to address.

Under common law, Defendant’s conduct would have given rise to causes of

action based on defamation and invasion of privacy.

      75.     As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of housing

opportunities; loss of time and money trying to correct the tenant screening report;

damage to his reputation; loss of sleep; lasting psychological damage; loss of

capacity for enjoyment of life; and emotional distress, including mental anguish,

anxiety, fear, frustration, humiliation, and embarrassment.

                              CLAIMS FOR RELIEF
                                  COUNT I
                             15 U.S.C. § 1681e(b)
    Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                  Accuracy
      76. Plaintiff re-alleges and incorporates by reference the allegations set

forth in the preceding paragraphs as if fully stated herein.

      77.     Defendant is a “consumer reporting agency” as defined by 15 U.S.C.

§ 1681a(f).


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      78.    At all times pertinent hereto, Plaintiff was a “consumer” as that term

is defined by 15 U.S.C. § 1681a(c).

      79.    At all times pertinent hereto, the above-mentioned tenant screening

report was a “consumer report” as that term is defined by 15 U.S.C. § 1681a(d).

      80.    Defendant violated 15 U.S.C. § 1681e(b) by failing to establish or to

“follow reasonable procedures to assure maximum possible accuracy” in the

preparation of the tenant screening report it sold about Plaintiff as well as the

information it published within the same.

      81.    As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of housing

opportunities; loss of time and money trying to correct the tenant screening report;

damage to her reputation; loss of sleep; lasting psychological damage; loss of

capacity for enjoyment of life; and emotional distress, including mental anguish,

anxiety, fear, frustration, humiliation, and embarrassment.

      82.    Defendant willfully violated 15 U.S.C. § 1681e(b) in that its conduct,

actions, and inactions were willful, rendering them liable for actual or statutory

damages, and punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n.        Alternatively, they were negligent, entitling

Plaintiff to recover under 15 U.S.C. § 1681o.


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       83.   Plaintiff is entitled to recover statutory damages, punitive damages,

and reasonable attorneys’ fees and costs from Defendant in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n and/or § 1681o.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

  i.   Determining that Defendant negligently and/or willfully violated the FCRA;

 ii.   Awarding Plaintiff actual, statutory, and punitive damages as provided by

       the FCRA;

iii.   Awarding Plaintiff reasonable attorneys’ fees and costs as provided by the

       FCRA; and,

iv.    Granting further relief, in law or equity, as this Court may deem appropriate

       and just.

                          DEMAND FOR JURY TRIAL

       Plaintiff is entitled to and hereby demands a trial by jury on all issues so

triable.




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Dated: February 8, 2023,     By:   /s/ Jenna Dakroub
                                   Jenna Dakroub, No. 385021
                                   CONSUMER ATTORNEYS PLC
                                   8245 N. 85th Way
                                   Scottsdale, AZ 85258
                                   T: (602) 807-1525
                                   F: (718) 715-1750
                                   E: jdakroub@consumerattorneys.com

                                   Attorneys for Plaintiff
                                   Michael Handy




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                          CERTIFICATE OF SERVICE

      I hereby certify that on February 8, 2023, I electronically filed the foregoing

with the Clerk of the Court using the ECF system, which will send notice of such

filing to all attorneys of record in this matter. Since none of the attorneys of record

are non-ECF participants, hard copies of the foregoing have not been provided via

personal delivery or by postal mail.



                                                   /s/ Susan Allsopp




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